                                                          Perkins Coie LLP                                                          Exhibit A
                                                       Rule 37 Attorneys' Fees
      DATE         TIMEKEEPER          ROLE     TIME      RATE    AMOUNT                          DESCRIPTION
                                                                   BILLED
   2/21/2021 Smith, Dawn K.         Senior         1.3    $210.00   $273.00 Review Plaintiff Jane Doe and A. Heppner's written
                                    Paralegal                               discovery responses and notate deficiencies in
                                                                            preparation for meet and confer draft.

   2/24/2021 Schirack, Sarah L.     Counsel        1.6    $400.00     $640.00 Begin drafting meet and confer letter regarding
                                                                              inadequate discovery responses and review discovery
                                                                              responses to support same.
   2/24/2021 Smith, Dawn K.         Senior         0.3    $210.00      $63.00 Conference regarding discovery responses of Plaintiffs,
                                    Paralegal                                 draft meet and confer letter to Plaintiffs, and other next
                                                                              steps.
   3/1/2021 Schirack, Sarah L.      Counsel        0.8    $380.00     $304.00 Continue drafting meet and confer letter and reviewing
                                                                              discovery responses to support same.
   3/9/2021 Schirack, Sarah L.      Counsel        1.1    $380.00     $418.00 Continue reviewing Plaintiffs' discovery responses and
                                                                              drafting meet and confer letter based on same.

   3/11/2021 Schirack, Sarah L.     Counsel        3.2    $380.00   $1,216.00 Finish reviewing all six Plaintiffs' discovery responses and
                                                                              drafting meet and confer letter regarding inadequacies
                                                                              in same (2.9); conference with D. Smith regarding same
                                                                              (.3).
   3/11/2021 Smith, Dawn K.         Senior         0.8    $225.00    $180.00 Westlaw research regarding request for releases and
                                    Paralegal                                 Plaintiffs' objections to same.
   3/12/2021 Smith, Dawn K.         Senior         0.4    $225.00      $90.00 Revise draft meet and confer letter to Plaintiffs' counsel
                                    Paralegal                                 regarding insufficient written discovery responses;

   3/15/2021 Schirack, Sarah L.     Counsel        0.2    $380.00      $76.00 Revise meet and confer letter and send same;
   4/9/2021 Schirack, Sarah L.      Counsel        0.2    $380.00      $76.00 Conference with P. Desai about potential motion to
                                                                              compel.
   4/11/2021 Ryman, Danielle M.     Partner        0.5    $435.00     $217.50 Review Plaintiffs' objections to University discovery and
                                                                              direct associate on case law supporting disclosure.



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                                                          Perkins Coie LLP                                                          Exhibit A
                                                       Rule 37 Attorneys' Fees
      DATE         TIMEKEEPER          ROLE     TIME      RATE      AMOUNT                             DESCRIPTION
                                                                     BILLED
   4/11/2021 Schirack, Sarah L.     Counsel        0.1    $380.00       $38.00 Conference with D. Ryman and P. Desai regarding
                                                                               potential motion to compel.
   4/13/2021 Desai, Priyam          Associate        1    $300.00     $300.00 Research discovery rules for medical records to respond
                                                                               to Plaintiffs' counsel.
   4/14/2021 Desai, Priyam          Associate      1.2    $300.00     $360.00 Research discovery rules for medical records to respond
                                                                               to plaintiffs' counsel.
   5/7/2021 Ryman, Danielle M.      Partner        1.4    $435.00     $609.00 Confer with team regarding emotional distress damages
                                                                               and distinction between garden variety emotional
                                                                               distress.
   5/7/2021 Schirack, Sarah L.      Counsel        2.6    $380.00     $988.00 Review and annotate deficiencies in Plaintiffs’
                                                                               supplemental discovery responses (1.2); research and
                                                                               distinguish Plaintiffs’ claims regarding emotional distress
                                                                               from “garden variety” claims under Alaska law (.7); draft
                                                                               email to Plaintiffs’ counsel regarding legal inadequacy of
                                                                               supplemental discovery responses (.7).

   5/27/2021 Schirack, Sarah L.     Counsel        1.2    $380.00     $456.00 Review meet and confer correspondence and responses
                                                                               from Plaintiffs' counsel regarding same and outline
                                                                               motion to compel based on same.
   5/28/2021 Desai, Priyam          Associate        3    $300.00      $900.00 Draft motion to compel, memorandum, and proposed
                                                                               order.
   6/1/2021 Desai, Priyam           Associate      3.5    $300.00    $1,050.00 Continue drafting motion to compel, memorandum, and
                                                                               proposed order.
   6/2/2021 Desai, Priyam           Associate      2.1    $300.00     $630.00 Continue drafting motion to compel, memorandum in
                                                                               support, proposed order, and affidavit.

   6/2/2021 Schirack, Sarah L.      Counsel        3.8    $380.00    $1,444.00 Revise motion to compel and conference with P. Desai
                                                                               regarding same and review communications between
                                                                               parties to support same.



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                                                          Perkins Coie LLP                                                      Exhibit A
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      DATE         TIMEKEEPER          ROLE     TIME      RATE      AMOUNT                            DESCRIPTION
                                                                     BILLED
   6/3/2021 Schirack, Sarah L.      Counsel        0.4    $380.00     $152.00 Finish revisions to motion to compel and conference
                                                                               with P. Desai regarding same.
   6/7/2021 Desai, Priyam           Associate      2.5    $300.00      $750.00 Revise motion to compel based on feedback from S.
                                                                               Schirack.
   6/8/2021 Desai, Priyam           Associate        4    $300.00    $1,200.00 Continue revisions to motion to compel based on
                                                                               feedback from S. Schirack and research additional
                                                                               caselaw for motion to compel.
   6/8/2021 Ryman, Danielle M.      Partner        2.3    $435.00    $1,000.50 Direct associate regarding discovery responses and
                                                                               outline motion to compel.
   6/8/2021 Schirack, Sarah L.      Counsel        0.5    $380.00     $190.00 Conference with D. Ryman regarding discovery dispute
                                                                               and motion to compel (.2); conference with P. Desai
                                                                               regarding motion to compel and revisions to same (.2);
                                                                               conference with opposing counsel regarding discovery
                                                                               dispute (.1).
   6/9/2021 Desai, Priyam           Associate      2.5    $300.00     $750.00 Continue revisions to motion to compel based on
                                                                               feedback from S. Schirack and research additional
                                                                               caselaw for motion.
   6/23/2021 Schirack, Sarah L.     Counsel        1.8    $380.00     $684.00 Revise motion to compel and review discovery produced
                                                                               to date from Plaintiffs to address same in motion.

   6/24/2021 Schirack, Sarah L.     Counsel        2.6    $380.00     $988.00 Finish revising motion to compel and reviewing discovery
                                                                              produced to date from Plaintiffs to address same in
                                                                              motion; research case law to support motion and
                                                                              incorporate into same.
   6/28/2021 Schirack, Sarah L.     Counsel        0.2    $380.00      $76.00 Conference regarding proposed exhibits in support of
                                                                              motion to compel and review same.
   6/28/2021 Smith, Dawn K.         Senior         0.3    $225.00      $67.50 Revisions to motion to compel.
                                    Paralegal




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                                                          Perkins Coie LLP                                                      Exhibit A
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      DATE         TIMEKEEPER          ROLE     TIME      RATE    AMOUNT                          DESCRIPTION
                                                                   BILLED
   6/30/2021 Ryman, Danielle M.     Partner        1.3    $435.00   $565.50 Review and revise motion to compel and direct associate
                                                                            regarding client review and approval and inclusion of
                                                                            psychiatric report.
   7/8/2021 Schirack, Sarah L.      Counsel        1.2    $380.00   $456.00 Coordinate exhibits for motion to compel and revise
                                                                            motion and send client draft of motion package and
                                                                            revise proposed order for same (.8); review
                                                                            supplemental discovery responses to ensure that motion
                                                                            to compel addresses all of our needs (.4).

   7/9/2021 Schirack, Sarah L.      Counsel        0.3    $380.00     $114.00 Finalize and file motion to compel.
   8/2/2021 Schirack, Sarah L.      Counsel        0.7    $380.00     $266.00 Draft opposition to motion to extend deadline for
                                                                              Plaintiffs to respond to the University's motion to
                                                                              compel and analyze ripple‐effects on current case
                                                                              schedule and strategize regarding same.
   8/17/2021 Schirack, Sarah L.     Counsel        1.4    $380.00     $532.00 Review Plaintiffs' opposition to motion to compel and
                                                                              begin outlining reply and conference with team
                                                                              regarding strategy for same.




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                                                       Rule 37 Attorneys' Fees
      DATE         TIMEKEEPER          ROLE     TIME      RATE    AMOUNT                           DESCRIPTION
                                                                   BILLED
   8/18/2021 Schirack, Sarah L.     Counsel        5.2    $380.00 $1,976.00 Review Plaintiffs' diagnostic evaluations and weave
                                                                            together narrative for legal argument section of reply in
                                                                            support of motion to compel to show that almost all of
                                                                            the Plaintiffs have had previous traumas that could
                                                                            conceivably be responsible for the injuries and damages
                                                                            they allege as part of this suit, as justification for the
                                                                            University's requested discovery (2.4); conference with
                                                                            D. Smith regarding reply in support of motion to compel
                                                                            and potential exhibits and information to support same
                                                                            (.2); research whether court can compel Plaintiffs' to
                                                                            provide medical releases and whether Plaintiffs have
                                                                            waived physician‐patient privilege by putting their
                                                                            severe mental anguish at issue and outline and draft
                                                                            legal argument section in reply regarding same (2.6).




   8/18/2021 Smith, Dawn K.         Senior         0.4    $225.00      $90.00 Research related to Plaintiff's relevance objection to
                                    Paralegal                                 request for medical records.
   8/19/2021 Schirack, Sarah L.     Counsel        3.6    $380.00   $1,368.00 Outline, research for, and draft legal argument sections
                                                                              in reply in support of motion to compel regarding what
                                                                              precisely Plaintiffs have produced to date and why their
                                                                              objections are legally inadequate given the claims at
                                                                              issue and why Plaintiffs' proffer of depositions and
                                                                              expert reports is inadequate to remedy their discovery
                                                                              production deficiencies (3.4); conference with D. Smith
                                                                              regarding Plaintiffs' discovery production to date (.2).




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                                                          Perkins Coie LLP                                                         Exhibit A
                                                       Rule 37 Attorneys' Fees
      DATE         TIMEKEEPER          ROLE     TIME      RATE    AMOUNT                            DESCRIPTION
                                                                   BILLED
   8/19/2021 Smith, Dawn K.         Senior         1.9    $225.00   $427.50 Summarize substantive discovery responses to ensure
                                    Paralegal                               validity of assertions in reply in support of motion to
                                                                            compel regarding deficincies in discovery responses;

   8/19/2021 Smith, Dawn K.         Senior         1.1    $225.00      $247.50 Draft time line and details of subpoenas issued by
                                    Paralegal                                  Plaintiffs in March 2020 for medical and mental health
                                                                               records in preparation for drafting reply to opposition to
                                                                               motion to compel.
   8/19/2021 Smith, Dawn K.         Senior         1.4    $225.00      $315.00 Draft table detailing all production received to date for
                                    Paralegal                                  purposes of reply to opposition to motion to compel.

   8/20/2021 Schirack, Sarah L.     Counsel        2.9    $380.00    $1,102.00 Cross‐check all discovery produced by Plaintiffs to date
                                                                               to bolster our assertions about Plaintiffs' lacking
                                                                               discovery to date in reply in support of motion to compel
                                                                               (1.8); comprehensive review of and revisions to same
                                                                               and draft introduction and conclusion to same (.9);
                                                                               coordinate exhibits for same (.2).

   8/20/2021 Smith, Dawn K.         Senior         0.4    $225.00       $90.00 Confirm proposed redactions of exhbiits to accompany
                                    Paralegal                                  Reply to Motion to Compel.
   8/20/2021 Smith, Dawn K.         Senior         1.2    $225.00      $270.00 Prepare summary of all substantive responses provided
                                    Paralegal                                  by Plaintiffs to D. Yesner's interrogatories and requests
                                                                               for production to ensure that none are response to the
                                                                               University's discovery requests;

   8/23/2021 Schirack, Sarah L.     Counsel        0.5    $380.00      $190.00 Revise and finalize reply in support of motion to compel
                                                                               for filing;
              TOTAL                               70.9              $24,196.00




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